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5                                 IN THE UNITED STATES DISTRICT COURT

6                           FOR THE EASTERN DISTRICT OF CALIFORNIA

7
                                                        )   Case No.: 2:07-cr-109 FCD
8    UNITED STATES OF AMERICA,                          )
                                                        )   STIPULATION AND ORDER FOR
9                    Plaintiff,                         )   EXTENSION OF VOLUNTARY
                                                        )   SURRENDER DATE
10            vs.                                       )
                                                        )
11   MARLENA M. JOHNSON,                                )
                                                        )
12                   Defendant                          )
13            The parties agree and hereby stipulate:

14            Defendant Marlena M. Johnson, was sentenced on March 31, 2008, and was ordered to

15   voluntary surrender herself to the Bureau of Prison to begin her 21 month sentence on April 28,

16   2008, at 2:00 p.m.

17            During a visit to her physician at Sutter Medical, it was determined by her doctor that she

18   must undergo gallbladder surgery and a liver biopsy. The surgery has been scheduled for May,

19   1, 2008. A letter from her physician indicates that she should be able to resume normal activity

20   approximately two weeks after surgery.

21            It is therefore agreed that based on the above circumstances, Ms. Johnson voluntary

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1    surrender date should be extended and changed to a surrender to the Bureau of Prisons on May

2    22, 2008, at 2:00 p.m., in order to allow her adequate time for recovery from surgery.

3                                                 Respectfully Submitted

4
     Dated this 23rd day of April, 2008
5
                                                                   By: /s/ Danny D. Brace, Jr.
6                                                                       DANNY D. BRACE, JR.,
                                                                        Attorney for Marlena M.
7                                                                       Johnson
8

9                                                                By:__/s/ Anne Pings___        _____
                                                                        ANNE PINGS
10                                                                      United States Attorney
            IT IS SO ORDERED.
11
     DATED: April 23, 2008
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14
                                          _______________________________________
                                          FRANK C. DAMRELL, JR.
15
                                          UNITED STATES DISTRICT JUDGE
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                                      Stipulation and Order - 2
